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PROPOSED COUNSEL TO DEBTORS
REAGOR-DYKES MOTORS, LP et al.

                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                  LUBBOCK DIVISION

    IN RE:                                                    §
                                                              §
    REAGOR-DYKES MOTORS, LP, et al.1                          § Case No. 18-50214-rlj-11
                                                              § Jointly Administered
                                    Debtor.                   §

    WITNESS AND EXHIBIT LIST FOR SEPTEMBER 18, 2018 AT 10:00 A.M. (CDT)

        Reagor-Dykes Motors, LP;          Reagor-Dykes Imports, LP;          Reagor-Dykes Amarillo, LP;

Reagor-Dykes Auto Company, LP; Reagor-Dykes Plainview, LP; Reagor-Dykes Floydada, LP

(collectively, “Reagor-Dykes” or the “Debtors”), as debtors and debtors-in-possession in the

above-styled and captioned case hereby file their Witness and Exhibit List for the hearing

scheduled for September 18, 2018 at 10:00 a.m. (CDT):

        1.       Debtors may call any of the following as a witness at the hearing:
                 A.      Robert Schleizer;

                 B.      John Thompson;

                 C.      KamKad Representative;

                 D.      Any representative of the Debtors;

                 E.      Any witness called or designated by any other party in interest; and



1
 The Debtors are Reagor-Dykes Imports, LP (Case No. 18-50215), Reagor-Dykes Amarillo (Case No. 18-50216),
Reagor-Dykes Auto Company, LP (Case No. 18-50217), Reagor-Dykes Plainview, LP (Case No. 18-50218), and Reagor-
Dykes Floydada, LP (Case No. 18-50219).


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               F.      Any witness necessary to rebut the testimony of witnesses called or
                       designated by any other party.

       2.      The Debtors may offer any one or more of the following exhibits at the hearing:

                                                                                    O
                                                                              M         O
                                                                                    F            A
                                                                              A         B
                                                                                    F            D
                                                                              R         J
 EX.                              DESCRIPTION                                       E            M
                                                                              K         E
                                                                                    R            I
                                                                              E         C
                                                                                    E            T
                                                                              D         T
                                                                                    D
        Motion for Entry of an Order (I) Authorizing and Approving: (A)
        Bid Procedures; (B) Stalking Horse Bidder and Overbid
  1     Protections; and (C) Form and Manner of Notices [Docket No.
        222]

        Letter of Intent dated September 10, 2018 from KamKad
  2     Automotive Holdings, LLC

  3     Bidding and Sale Procedures [Exhibit 1 to Docket No. 222-1]

  4     KamKad Press Release

        OTHER DOCUMENTS

        Any document or pleading filed in the above-captioned case.

        Any exhibit necessary for impeachment and/or rebuttal purposes.

        Any exhibit identified or offered by any other party.


       The Debtors reserve the right to supplement or amend this Witness and Exhibit List at any

time prior to the hearing.




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DATED: September 17, 2018,                 Respectfully submitted by:


                                           /s/ Marcus A. Helt
                                           Marcus A. Helt (TX 24052187)
                                           C. Ashley Ellis (TX 00794824)
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                                           PROPOSED COUNSEL TO DEBTORS
                                           REAGOR-DYKES MOTORS, LP et al.



                              CERTIFICATE OF SERVICE

      I hereby certify that, on September 17, 2018 a true and correct copy of the foregoing
document was served electronically by the Court’s PACER system.

                                           /s/ Marcus A. Helt
                                           Marcus A. Helt




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